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                             UNITED STATES DISTRICT COURT
                             NORTHERN DISTRICT OF INDIANA
                                 SOUTH BEND DIVISION

UNITED STATES OF AMERICA                           )
                                                   )
               vs.                                 )       CAUSE NUMBER 3:97-CR-00007RM
                                                   )
SAM STANCIEL (07)                                  )

                                     OPINION AND ORDER

       Because the presentence report in this case reflects the defendant’s statement that he had never

used any controlled substances in his life, the court declines the defendant’s request to recommend his

participation in the Bureau of Prisons’ 500-hour residential drug treatment program.

       SO ORDERED.

       ENTERED:         May 31, 2005




                                                   /s/ Robert L. Miller, Jr.
                                               Chief Judge
                                               United States District Court


cc:    S. Stanciel
